                    Case 24-41552                   Doc 1            Filed 07/01/24 Entered 07/01/24 11:22:47                               Desc Main
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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

               Eastern District of Texas

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Michael
       Write the name that is on your         First name                                                      First name
       government-issued picture
                                               D.
       identification (for example, your
                                              Middle name                                                     Middle name
       driver’s license or passport).
                                               Fordinal
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.

                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as
       names.
                                              Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 1           1    5   0                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




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 Debtor 1            Michael             D.                          Fordinal                                       Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          1100 Misty Ridge Drive
                                          Number            Street                                        Number           Street




                                          Justin, TX 76247
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Denton
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




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 Debtor 1           Michael            D.                      Fordinal                                        Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                            details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                            check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                            a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                            to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                            judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                            official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                            choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                            103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                        Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                        Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                        Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an                District                                     When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                 Debtor                                                                 Relationship to you

                                                 District                                     When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ❑ No. Go to line 12.
                                       ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                       ❑
                                              ✔ No. Go to line 12.
                                              ❑
                                              ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




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                    First Name             Middle Name              Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an                Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.         Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                                City                                               State            ZIP Code

                                                Check the appropriate box to describe your business:

                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
      11 of the Bankruptcy Code,           appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
      and are you a small business         sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
      debtor?                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




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 Debtor 1           Michael             D.                      Fordinal                                     Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




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 Debtor 1           Michael             D.                      Fordinal                                       Case number (if known)
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 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ❑ I received a briefing from an approved credit
      bankruptcy. You must truthfully        counseling agency within the 180 days before I                counseling agency within the 180 days before I
      check one of the following             filed this bankruptcy petition, and I received a              filed this bankruptcy petition, and I received a
      choices. If you cannot do so,          certificate of completion.                                    certificate of completion.
      you are not eligible to file.
                                             Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment
      If you file anyway, the court          plan, if any, that you developed with the agency.             plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can           counseling agency within the 180 days before I                counseling agency within the 180 days before I
      begin collection activities            filed this bankruptcy petition, but I do not have a           filed this bankruptcy petition, but I do not have a
      again.                                 certificate of completion.                                    certificate of completion.
                                             Within 14 days after you file this bankruptcy petition,       Within 14 days after you file this bankruptcy petition,
                                             you MUST file a copy of the certificate and payment           you MUST file a copy of the certificate and payment
                                             plan, if any.                                                 plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                             from an approved agency, but was unable to                    from an approved agency, but was unable to
                                             obtain those services during the 7 days after I               obtain those services during the 7 days after I
                                             made my request, and exigent circumstances                    made my request, and exigent circumstances
                                             merit a 30-day temporary waiver of the                        merit a 30-day temporary waiver of the
                                             requirement.                                                  requirement.
                                             To ask for a 30-day temporary waiver of the                   To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining               requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why you         what efforts you made to obtain the briefing, why you
                                             were unable to obtain it before you filed for                 were unable to obtain it before you filed for
                                             bankruptcy, and what exigent circumstances                    bankruptcy, and what exigent circumstances
                                             required you to file this case.                               required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                             counseling because of:                                        counseling because of:
                                             ❑ Incapacity. I have a mental illness or a mental             ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                             ❑ Disability.     My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                             ❑ Active duty. I am currently on active military              ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.


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 Debtor 1           Michael               D.                       Fordinal                                         Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ✔ No. Go to line 16b.
                                                   ❑
                                                   ❑ Yes. Go to line 17.
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you                ✔ 1-49
                                               ❑                ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                   ❑ 50-99          ❑ 5,001-10,000
                                               ❑ 100-199        ❑ 10,001-25,000
                                               ❑ 200-999

  19. How much do you estimate your            ❑ $0-$50,000                        ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                      ✔ $50,001-$100,000
                                               ❑                                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                               ❑ $100,001-$500,000                 ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                               ❑ $500,001-$1 million               ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your            ❑ $0-$50,000                        ✔ $1,000,001-$10 million
                                                                                   ❑                                          ❑ $500,000,001-$1 billion
      liabilities to be?                       ❑ $50,001-$100,000                  ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                               ❑ $100,001-$500,000                 ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                               ❑ $500,001-$1 million               ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Michael D. Fordinal
                                       Michael D. Fordinal, Debtor 1
                                       Executed on 07/01/2024
                                                        MM/ DD/ YYYY




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                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Christopher J. Moser                                             Date 07/01/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Christopher J. Moser
                                                  Printed name

                                                   Quilling, Selander, Lownds, Winslett & Moser, P.C.
                                                  Firm name

                                                   2001 Bryan Street 1800
                                                  Number           Street




                                                   Dallas                                                          TX       75201
                                                  City                                                             State   ZIP Code




                                                  Contact phone (214) 817-2100                       Email address cmoser@qslwm.com


                                                   14572500                                                        TX
                                                  Bar number                                                       State




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                Notice Required by 11 U.S.C. § 342(b) for
                Individuals Filing for Bankruptcy (Form 2010)


                  This notice is for you if:                                          Chapter 7: Liquidation

                         You are an individual filing for                                              $245    filing fee
                         bankruptcy, and
                                                                                                         $78   administrative fee
                                                                                                 +       $15   trustee surcharge
                         Your debts are primarily consumer debts.
                         Consumer debts are defined in 11 U.S.C. §                                     $338    total fee
                         101(8) as “incurred by an individual
                         primarily for a personal, family, or                        Chapter 7 is for individuals who have financial
                         household purpose.”                                         difficulty preventing them from paying their
                                                                                     debts and who are willing to allow their non-
                                                                                     exempt property to be used to pay their
                                                                                     creditors. The primary purpose of filing under
                                                                                     chapter 7 is to have your debts discharged.
                The types of bankruptcy that are                                     The bankruptcy discharge relieves you after
                available to individuals                                             bankruptcy from having to pay many of your
                                                                                     pre-bankruptcy debts. Exceptions exist for
                Individuals who meet the qualifications may file                     particular debts, and liens on property may
                under one of four different chapters of the                          still be enforced after discharge. For example,
                Bankruptcy Code:                                                     a creditor may have the right to foreclose a
                                                                                     home mortgage or repossess an automobile.
                        Chapter 7 — Liquidation
                                                                                     However, if the court finds that you have committed
                        Chapter 11— Reorganization                                   certain kinds of improper conduct described in the
                                                                                     Bankruptcy Code, the court may deny your
                        Chapter 12— Voluntary repayment plan                         discharge.
                                    for family farmers or
                                    fishermen                                        You should know that even if you file chapter 7 and
                                                                                     you receive a discharge, some debts are not
                        Chapter 13— Voluntary repayment plan                         discharged under the law. Therefore, you may still
                                    for individuals with regular                     be responsible to pay:
                                    income
                                                                                             most taxes;
                You should have an attorney review your                                      most student loans;
                decision to file for bankruptcy and the choice of                            most domestic support and property
                chapter.                                                                     settlement obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)        page 1
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                                                                                     your income is more than the median income for
                        most fines, penalties, forfeitures, and                      your state of residence and family size, depending
                        criminal restitution obligations; and                        on the results of the Means Test, the U.S. trustee,
                        certain debts that are not listed in your
                                                                                     bankruptcy administrator, or creditors can file a
                        bankruptcy papers.                                           motion to dismiss your case under § 707(b) of the
                You may also be required to pay debts arising                        Bankruptcy Code. If a motion is filed, the court will
                from:                                                                decide if your case should be dismissed. To avoid
                                                                                     dismissal, you may choose to proceed under
                        fraud or theft;
                                                                                     another chapter of the Bankruptcy Code.
                        fraud or defalcation while acting in breach
                        of fiduciary capacity;
                                                                                     If you are an individual filing for chapter 7
                        intentional injuries that you inflicted; and
                                                                                     bankruptcy, the trustee may sell your property to
                        death or personal injury caused by
                                                                                     pay your debts, subject to your right to exempt the
                        operating a motor vehicle, vessel, or
                                                                                     property or a portion of the proceeds from the sale
                        aircraft while intoxicated from alcohol or
                                                                                     of the property. The property, and the proceeds
                        drugs.
                                                                                     from property that your bankruptcy trustee sells or
                                                                                     liquidates that you are entitled to, is called exempt
                If your debts are primarily consumer debts, the
                                                                                     property. Exemptions may enable you to keep your
                court can dismiss your chapter 7 case if it finds that
                                                                                     home, a car, clothing, and household items or to
                you have enough income to repay creditors a
                                                                                     receive some of the proceeds if the property is
                certain amount. You must file Chapter 7 Statement
                                                                                     sold.
                of Your Current Monthly Income (Official Form
                122A–1) if you are an individual filing for
                                                                                     Exemptions are not automatic. To exempt property,
                bankruptcy under chapter 7. This form will
                                                                                     you must list it on Schedule C: The Property You
                determine your current monthly income and
                                                                                     Claim as Exempt (Official Form 106C). If you do
                compare whether your income is more than the
                                                                                     not list the property, the trustee may sell it and pay
                median income that applies in your state.
                                                                                     all of the proceeds to your creditors.

                If your income is not above the median for your
                state, you will not have to complete the other
                                                                                      Chapter 11: Reorganization
                chapter 7 form, the Chapter 7 Means Test
                Calculation (Official Form 122A–2).
                                                                                                          $1,167   filing fee
                                                                                                 +         $571    administrative fee
                If your income is above the median for your state,
                you must file a second form —theChapter 7                                                 $1,738   total fee
                Means Test Calculation (Official Form 122A–2).
                The calculations on the form— sometimes called                       Chapter 11 is often used for reorganizing a
                the Means Test —deduct from your income living                       business, but is also available to individuals. The
                expenses and payments on certain debts to                            provisions of chapter 11 are too complicated to
                determine any amount available to pay unsecured                      summarize briefly.
                creditors. If




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                  Read These Important Warnings

                      Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                      your property, you should hire an attorney and carefully consider all of your options before you file.
                      Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                      and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                      properly and protect you, your family, your home, and your possessions.

                      Although the law allows you to represent yourself in bankruptcy court, you should understand that
                      many people find it difficult to represent themselves successfully. The rules are technical, and a
                      mistake or inaction may harm you. If you file without an attorney, you are still responsible for
                      knowing and following all of the legal requirements.

                      You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                      necessary documents.

                      Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                      bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                      fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
                      to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                 Chapter 12: Repayment plan for family                               Under chapter 13, you must file with the court a
                             farmers or fishermen                                    plan to repay your creditors all or part of the money
                                                                                     that you owe them, usually using your future
                                     $200    filing fee                              earnings. If the court approves your plan, the court
                                                                                     will allow you to repay your debts, as adjusted by
                            +         $78    administrative fee
                                                                                     the plan, within 3 years or 5 years, depending on
                                     $278    total fee                               your income and other factors.

                Similar to chapter 13, chapter 12 permits family                     After you make all the payments under your plan,
                farmers and fishermen to repay their debts over a                    many of your debts are discharged. The debts that
                period of time using future earnings and to                          are not discharged and that you may still be
                discharge some debts that are not paid.                              responsible to pay include:

                                                                                             domestic support obligations,
                 Chapter 13: Repayment plan for                                              most student loans,
                             individuals with regular                                        certain taxes,
                             income                                                          debts for fraud or theft,
                                                                                             debts for fraud or defalcation while acting
                                     $235    filing fee                                      in a fiduciary capacity,
                            +         $78    administrative fee                              most criminal fines and restitution
                                                                                             obligations,
                                     $313    total fee
                                                                                             certain debts that are not listed in your
                                                                                             bankruptcy papers,
                Chapter 13 is for individuals who have regular
                                                                                             certain debts for acts that caused death or
                income and would like to pay all or part of their
                                                                                             personal injury, and
                debts in installments over a period of time and to
                                                                                             certain long-term secured debts
                discharge some debts that are not paid. You are
                eligible for chapter 13 only if your debts are not
                more than certain dollar amounts set forth in 11
                U.S.C. § 109.




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                  Warning: File Your Forms on Time                                         A married couple may file a bankruptcy case
                                                                                           together—called ajoint case. If you file a joint
                                                                                           case and each spouse lists the same mailing
                  Section 521(a)(1) of the Bankruptcy Code
                                                                                           address on the bankruptcy petition, the
                  requires that you promptly file detailed
                                                                                           bankruptcy court generally will mail you and
                  information about your creditors, assets,
                                                                                           your spouse one copy of each notice, unless
                  liabilities, income, expenses and general
                                                                                           you file a statement with the court asking that
                  financial condition. The court may dismiss your
                                                                                           each spouse receive separate copies.
                  bankruptcy case if you do not file this
                  information within the deadlines set by the
                  Bankruptcy Code, the Bankruptcy Rules, and                               Understand which services you
                  the local rules of the court.                                            could receive from credit
                                                                                           counseling agencies
                  For more information about the documents and
                  their deadlines, go to:                                                  The law generally requires that you receive a
                  http://www.uscourts.gov/bkforms                                          credit counseling briefing from an approved
                  /bankruptcy_form                                                         credit counseling agency. 11 U.S.C. § 109(h).
                  s.html#procedure.                                                        If you are filing a joint case, both spouses
                                                                                           must receive the briefing. With limited
                                                                                           exceptions, you must receive it within the 180
                Bankruptcy crimes have serious
                                                                                           days before you file your bankruptcy petition.
                consequences
                                                                                           This briefing is usually conducted by
                        If you knowingly and fraudulently conceal                          telephone or on the Internet.
                        assets or make a false oath or statement
                        under penalty of perjury—either orally or                          In addition, after filing a bankruptcy case, you
                        in writing—in connection with a                                    generally must complete a financial
                        bankruptcy case, you may be fined,                                 management instructional course before you
                        imprisoned, or both.                                               can receive a discharge. If you are filing a
                        All information you supply in connection                           joint case, both spouses must complete the
                        with a bankruptcy case is subject to                               course.
                        examination by the Attorney General acting
                        through the Office of the U.S. Trustee, the                        You can obtain the list of agencies approved
                        Office of the U.S. Attorney, and other                             to provide both the briefing and the
                        offices and employees of the U.S.                                  instructional course from:
                        Department of Justice.                                             http://justice.gov/ust/eo/hapcpa
                                                                                           /ccde/cc_approved.html.
                Make sure the court has your
                mailing address                                                            In Alabama and North Carolina, go to:
                                                                                           http://www.uscourts.gov/FederalCourts
                The bankruptcy court sends notices to the mailing                          /Bankruptcy/
                address you list on Voluntary Petition for                                 BankruptcyResources/ApprovedCredit
                Individuals Filing for Bankruptcy(Official Form 101).                      AndDebtCounselors.aspx.
                To ensure that you receive information about your
                case, Bankruptcy Rule 4002 requires that you                               If you do not have access to a computer, the
                notify the court of any changes in your address.                           clerk of the bankruptcy court may be able to
                                                                                           help you obtain the list.




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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                        EASTERN DISTRICT OF TEXAS
                                                             SHERMAN DIVISION

IN RE: Fordinal, Michael D.                                                            CASE NO

                                                                                       CHAPTER 7




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      07/01/2024             Signature                             /s/ Michael D. Fordinal
                                                                        Michael D. Fordinal, Debtor
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Altus Receivables                            Amazon Lending                       American Express
Management                                   410 Terry Avenue N.                  PO Box 6031
PO Box 186                                   Seattle, WA 98109                    Carol Stream, IL 60197-6031
Metairie, LA 70004-0186



AT&T                                         Aubrey Thrasher                      Best Egg
208 S. Akard Street, Ste. 2954               12 Powder Springs Street, Ste. 240   PO Box 42912
Dallas, TX 75202                             Marietta, GA 30064                   Philadelphia, PA 19101-2912




BlueVine, Inc.                               Braavo Bank                          Capital One
30 Montgomery Street, Suite 1400             11499 Route 6                        PO Box 30285
Jersey City, NJ 07302                        Wellsboro, PA 16901                  Salt Lake City, UT 84130-0285




Capital Resource                             Chase Card Services                  Crosby Abulafia, LLC
International                                PO Box 15298                         c/o Trinity Interests-Attn Timothy
Attn: Joshua Provost, Esq.                   Wilmington, DE 19850-5298            Morehead
25852 McBean Pkwy., Ste. 801                                                      12740 Hillcrest, Ste. 101
Santa Clarita, CA 91355                                                           Austin, TX 78701


First Citizens Community                     Franklin Media LLC                   Frontier
Bank                                         1100 Misty Ridge Drive               PO Box 5166
11499 Route 6                                Justin, TX 76247                     Tampa, FL 33675
Wellsboro, PA 16901



Green Mountain Energy                        Half Price Books                     Headway Capital
PO Box 328                                   5803 E. Northwest Hwy.               175 W. Jackson Blvd., Ste. 1000
Houston, TX 77001                            Dallas, TX 75231                     Chicago, IL 60604




Hillcrest, Davidson &                        Internal Revenue Service             Irving ISD Tax Assessor-
Associates, LLC                              PO Box 7346                          Collector
Attn: Kenny Williams                         Philadelphia, PA 19101-7346          Cherylyn Elzy, RTA
1771 International Pkwy., Ste. 101                                                PO Box 152021
Richardson, TX 75081                                                              Irving, TX 75015


Itria Ventures LLC                           Jonathan Gitlin, Esq.                Marlin Leasing Corp. dba
One Penn Plaza, Ste. 3101                    One Penn Plaza, Ste. 3101            PEAC Solutions
New York, NY 10119                           New York, NY 10119                   Attn: Karen Shields, Esq.
                                                                                  300 Fellowship Road
                                                                                  Mount Laurel, NJ 08054


Michael and Lisa Fordinal                    North Texas Tollway                  Office of the U.S. Trustee
2950 Springer Road                           Authority                            110 N. College Ave., Ste. 300
Midlothian, TX 76065                         PO Box 660244                        Tyler, TX 75702
                                             Dallas, TX 75266-0244



OSM                                          Parafin Inc.                         PNC Bank
601 Regency Drive                            301 Howard Street, Ste. 1500         The Tower at PNC Plaza
Glendale Heights, IL 60139                   San Francisco, CA 94105              300 Fifth Avenue
                                                                                  Pittsburgh, PA 15222
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Quench USA                               Republic Services                  The Collection Law Group
PO Box 735777                            18500 North Allied Way             Attn: Carolyn Dimson
Dallas, TX 75373-5777                    Phoenix, AZ 85054                  1830 Pearl Street 2nd Floor, Ste. 100
                                                                            Boulder, CO 80302



The Fundworks                            U.S. Small Business                Uber Freight
5990 Sepulveda Blvd., Ste. 310           Administration                     433 W. Van Buren St., Ste. 900
Van Nuys, CA 91411                       409 3rd Street, SW                 Chicago, IL 60607
                                         Washington, DC 20416



VCG                                      Velocity Capital Group LLC
333 Pearsall Ave.                        333 Pearsall Ave
Cedarhurst, NY 11516                     Cedarhurst, NY 11516
